              Case 2:04-cv-09049-DOC-RNB Document 1423 Filed 12/31/07 Page 1 of 4 Page ID
                                              #:14987



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                   9
                  10                           UNITED STATES DISTRICT COURT
                  11                      CENTRAL DISTRICT OF CALIFORNIA
                  12                                EASTERN DIVISION
                  13 CARTER BRYANT, an individual,           CASE NO. CV 04-09049 SGL (RNBx)
                  14              Plaintiff,                 Consolidated with Case Nos. CV 04-
                                                             9059 and CV 05-2727
                  15        vs.
                                                             Hon. Stephen G. Larson
                  16 MATTEL, INC., a Delaware
                     corporation,                            DECLARATION OF MICHAEL T.
                  17                                         ZELLER IN SUPPORT OF MATTEL,
                                  Defendant.                 INC.'S MOTIONS TO BE HEARD ON
                  18                                         JANUARY 7, 2008
                     AND CONSOLIDATED ACTIONS.
                  19
                                                             Hearing Date: January 7, 2008
                  20                                         Time:         10:00 a.m.
                                                             Place:        Courtroom 1
                  21
                                                             Phase I
                  22                                         Discovery Cut-Off: January 28, 2008
                                                             Pre-Trial Conference: May 5, 2008
                  23                                         Trial Date:           May 27, 2008
                  24
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                  28
07209/2337858.1
                                                                     DECLARATION OF MICHAEL T. ZELLER
              Case 2:04-cv-09049-DOC-RNB Document 1423 Filed 12/31/07 Page 2 of 4 Page ID
                                              #:14988



                   1                    DECLARATION OF MICHAEL T. ZELLER
                   2
                   3               I, Michael T. Zeller, declare as follows:
                   4               1.    I am a member of the Bars of the States of California, New York
                   5 and Illinois, am admitted to practice before this Court and am a partner at Quinn
                   6 Emanuel Urquhart Oliver & Hedges, LLP, attorneys for plaintiff and cross-
                   7 defendant Mattel, Inc. ("Mattel"). I make this declaration of personal, firsthand
                   8 knowledge and, if called and sworn as a witness, I could and would testify
                   9 competently thereto.
                  10               2.    Attached as Exhibit 1 is a true and correct copy of the Dallas
                  11 County Court at Law's Order Denying Bryant's Motion for Protective Order, dated
                  12 November 16, 2007.
                  13               3.    Attached as Exhibit 2 is a true and correct copy of Discovery
                  14 Master's Order Granting Mattel's motion to Compel Carter Bryant to Answer
                  15 Requests for Admission, dated August 21, 2007.
                  16               4.    Attached as Exhibit 3 is a true and correct copy of Discovery
                  17 Master's Order Granting Mattel's Motion to Compel MGA to Answer Requests for
                  18 Admission, dated August 21, 2007.
                  19               5.    Attached as Exhibit 4 is a true and correct copy of Discovery
                  20 Master's Order Granting Mattel's Motion to Compel Bryant to Make Original
                  21 Documents Available for Expert Examination and Testing, dated August 30, 2007.
                  22               6.    Attached as Exhibit 5 is a true and correct copy of Discovery
                  23 Master's Order Granting In Part Mattel's Motion to Compel MGA To Produce
                  24 Witnesses Pursuant to Third Notice of Deposition Under Rule 30(b)(6), dated
                  25 September 26, 2007.
                  26               7.    Attached as Exhibit 6 is a true and correct copy of Discovery
                  27 Master's Order Granting In Part Mattel's Motion for Additional Time To Depose
                  28 Carter Bryant For All Purposes, dated September 28, 2007.
07209/2337858.1
                                                                -1-
                                                                               DECLARATION OF MICHAEL T. ZELLER
              Case 2:04-cv-09049-DOC-RNB Document 1423 Filed 12/31/07 Page 3 of 4 Page ID
                                              #:14989



                   1              8.     Attached as Exhibit 7 is a true and correct copy of Discovery
                   2 Master's Order Granting Mattel's Motion to Compel MGA to Produce Documents,
                   3 dated December 17, 2007.
                   4              9.     Attached as Exhibit 8 is a true and correct copy of Discovery
                   5 Master's Order Granting Mattel, Inc.'s Motion to Compel Production of Documents
                   6 by MGA, dated December 28, 2007.
                   7              10.    Attached as Exhibit 9 is a true and correct copy of excerpts from
                   8 Hearing Transcript of Scheduling Conference, dated dated February 12, 2007.
                   9              11.    Isaac Larian has not produced any documents in this case.
                  10              12.    Attached as Exhibit 10 is a true and correct copy of MGA
                  11 Mexico's Objections and Responses to Mattel's First Set of Requests for Production.
                  12              13.    Defendant Gustavo Machado Gomez refused to sit for deposition
                  13 until after Mattel moved to compel his deposition.
                  14              14.    Defendants have served more than 1,200 requests for production,
                  15 more than 1,200 requests for admissions, in excess of 50 interrogatories, 146 Rule
                  16 30(b)(6) topics and at least 64 subpoenas.
                  17              15.    Attached as Exhibit 11 is a true and correct copy of my colleague
                  18 Jon Corey's letters to John M. Baran and to letter from Neal Potischman, dated
                  19 December 24, 2007.
                  20              16.    Attached as Exhibit 12 is a true and correct copy of Discovery
                  21 Master's Order Granting in Part Mattel's Motion for Protective Order Regarding
                  22 "Polly Pocket" Documents, dated April 19, 2007.
                  23              17.    Attached as Exhibit 13 is a true and correct copy of a page from
                  24 the website of Keats, McFarland & Wilson LLP, www.kmwlaw.com, printed on
                  25 December 31, 2007.
                  26              18.    Attached as Exhibit 14 is a true and correct copy of Discovery
                  27 Master's Order Granting Mattel's Motion for an Extension of Time to Depose Paula
                  28 Garcia, dated August 14, 2007.
07209/2267105.8
                                                                  -2-
                                                                           DECLARATION OF MICHAEL T. ZELLER
              Case 2:04-cv-09049-DOC-RNB Document 1423 Filed 12/31/07 Page 4 of 4 Page ID
                                              #:14990



                   1               19.   Attached as Exhibit 15 is a true and correct copy of Mattel's
                   2 Subpoena to Ernst & Young dated October 25, 2007.
                   3               20.   Attached as Exhibit 16 is a true and correct copy of Mattel's
                   4 Subpoena to Wachovia dated October 25, 2007.
                   5               21.   Attached as Exhibit 17 is a true and correct copy of Discovery
                   6 Master's Order Granting Mattel's Motion to Compel Documents and Interrogatory
                   7 Answers by MGA, dated May 15, 2007.
                   8               22.   Attached as Exhibit 18 is a true and correct copy of the Court's
                   9 Order dated July 2, 2007.
                  10               23.   Attached as Exhibit 19 is a true and correct copy of the Amended
                  11 Answer and Affirmative Defenses of MGA Entertainment, Inc., MGA
                  12 Entertainment (HK) Limited and MGAE de Mexico S.R.L. de C.V. to Mattel, Inc.'s
                  13 Second Amended Answer and Counterclaims.
                  14               24.   Attached as Exhibit 20 is a true and correct copy of Carter
                  15 Bryant's Opposition to Motion to Strike Carter Bryant's Affirmative Defenses.
                  16               25.   Attached as Exhibit 21 is a true and correct copy of excerpts
                  17 from Bryant's Opposition to Mattel's Motion to Enforce the Court's Order of August
                  18 27, 2007 and Compel Carter Bryant and Carlos Gustavo Machado Gomez to
                  19 Provide Preservation Affidavits, dated December 24, 2007.
                  20               26.   Attached as Exhibit 22 is a true and correct copy of excerpts
                  21 from the hearing transcript of the status conference on October 15, 2007.
                  22               I declare under penalty of perjury under the laws of the United States of
                  23 America that the foregoing is true and correct.
                  24               Executed on December 31, 2007, at Los Angeles, California.
                  25
                  26
                                                          By /s/ Michael T. Zeller
                  27                                        Michael T. Zeller

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07209/2267105.8
                                                                -3-
                                                                           DECLARATION OF MICHAEL T. ZELLER
